                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 UNITED STATES OF AMERICA,                         )
                                                   )
                       Plaintiff,                  )
                                                   )
 v.                                                )             No: 3:07-CR-147
                                                   )             (VARLAN/GUYTON)
 BRENT DEVONN OOTEN,                               )
                                                   )
                       Defendant.                  )


                                MEMORANDUM AND ORDER

        All pre-trial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

 § 636(b) for disposition or report and recommendation regarding disposition by the District Court

 as may be appropriate. The Court notes that on October 24, 2007, Defendant Ooten pled guilty to

 Count One of the Third Superseding Indictment. [Doc. 202] Additionally, David Wolf, counsel for

 Defendant Ooten, informed chambers telephonically that, in light of Defendant Ooten’s guilty plea,

 the pending motions filed by Defendant Ooten are now moot. Accordingly, Defendant Ooten’s

 Motion for Bill of Particulars [Doc. 185], Motion to Reveal Confidential Informants [Doc. 186], and

 Motion to Suppress Intercepted Communications [Doc. 187] are hereby DENIED as moot.

        IT IS SO ORDERED.

                                                   ENTER:


                                                        s/ H. Bruce Guyton
                                                   United States Magistrate Judge




Case 3:06-cr-00147-TAV-JEM           Document 206        Filed 10/25/07      Page 1 of 1      PageID
                                           #: 149
